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              AM   1:21-cv-00848-RJJ-RSK                  ECF   No.probation
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 MICHIGAN


Nurse gets probation for role in teen's
death at youth home
Associated Press
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Kalamazoo, Mich. — A former nurse charged in the death of a teenager who was restrained
at a Michigan youth home has been placed on probation for 18 months.

Heather McLogan had no direct role in restraining Cornelius Fredericks at Lakeside
Academy in Kalamazoo, but she acknowledged that she didn't stop it, WWMT-TV reported.

“I feel horrible Cornelius died. This shouldn’t have happened,” McLogan said, crying at times
in court Monday.

McLogan made a deal with prosecutors in July and pleaded no contest to third-degree child
abuse. She had been charged with involuntary manslaughter and second-degree child abuse.

A no contest plea is not an admission of guilt but is treated as such at sentencing.

McLogan, if needed, will testify against two co-defendants who have been charged with
involuntary manslaughter and child abuse.

Fredericks, 16, died on May 1, 2020, two days after he lost consciousness while being
restrained by staff at Lakeside. Prosecutor Jeff Getting said at the time that he was being
restrained for throwing a sandwich.

Lakeside, now closed, was a facility for teens with behavioral problems.

Family members who spoke in court said they remain heartbroken over the teen's death.

“She feels terrible what happened,” said McLogan's attorney, Anastase Markou. “I think it
surprises her looking at the video each time, how she just stood by after the restraint was
finished.”




https://www.detroitnews.com/story/news/local/michigan/2021/09/28/nurse-gets-probation-role-teens-death-youth-home/5907979001/     1/1
